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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------x
UNITED STATES OF AMERICA,

                       Plaintiff,
                                                    MEMORANDUM AND ORDER
       -against-                                    05 CR 401 (ILG)

JOSIAH McTIER,

                        Defendant.
----------------------------------------------x
GLASSER, United States District Judge:

       By letter dated August 17, 2006, the defendant requested the Court to issue an

order directing the Warden of the Metropolitan Detention Center (“MDC”) “to remove

the ‘separation orders’ that have been placed on Mr. McTier as well as his codefendants

housed at the MDC because there is no legal justification for these orders and the effect

of these separation orders has been to interfere substantially with and/or to deprive Mr.

McTier of essentially all the privileges that would otherwise be permitted him were it not

for the separation orders.” Also submitted was an affidavit by the defendant stating that

as a result of the separation orders, his family visits were delayed and cut short, he has

been unable to visit the MDC law library and other areas within that facility.

       In a letter dated September 1, 2006, by way of response, the government stated

that the defendants “remain separated for the purpose of insuring inmate safety,

including their own, as well as the safety of MDC, U.S. Marshals, court personnel and

potential witnesses. The government will further elaborate upon the necessity of the

separation request in an ex parte submission under seal. The separations are not meant

to deny the defendants the ability to engage in joint defense meetings with counsel

should they so desire.” Further elaboration, ex parte and under seal, followed by letter
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dated September 7, 2006.

                                       Discussion

       The Submission Ex Parte and Under Seal

       “As a general rule of thumb, in all but the most exceptional circumstances, ex

parte communications with the court are an extraordinarily bad idea . . . . [G]iving the

government private access to the ear of the court is not only ‘a gross breach of the

appearance of justice’ but also a ‘dangerous procedure.’” United States v. Carmichael,

232 F.3d 510, 517 (6th Cir. 2000), cert. denied, 532 U.S. 974 (2001). That is not to say

that ex parte communications are never appropriate. Ex parte communications are

properly used if the government’s assertion of a need for non-disclosure will not deprive

a defendant of a constitutional right. In re Taylor, 567 F.2d 1183, 1188 (2d Cir. 1977).

For example, ex parte communications have been recognized as necessary where the

safety of witnesses is concerned and in the area of national security, ex parte

communications between the Court and the prosecutor have been recognized as well.

See, e.g., United States v. Napue, 834 F.2d 1311 (7th Cir. 1987); United States v. Pringle,

751 F.2d 419 (1st Cir. 1984). The ex parte communication submitted here in response to

the defendant’s request, does not, in any respect, touch upon the merits of this case nor

does it, in any respect, touch upon any constitutional right.

       Better practice would dictate that the United States Attorney request permission

to file documents ex parte and under seal with an explanation of the reasons and the

authority for doing so. See Campbell v. United States, 1994 WL 361606, at *2 (S.D.N.Y.

July 5, 1994).

       Given the nature of the defendant’s request, pertaining as it does to the condition

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of confinement, an ex parte submission was superfluous. In a Memorandum and Order

dated July 20, 2006, addressing grievances concerning conditions of confinement by co-

defendants James McTier and Sharief Russell, familiarity with which is assumed, I

reviewed the relevant federal regulations and relevant cases in support of the

determination that administrative remedies must be exhausted as a pre-requisite for

invoking the jurisdiction of the Court. In addition, attention was called to the Prison

Litigation Reform Act, 42 U.S.C. § 1997(e)(a), which provides that “No action shall be

brought with respect to prison conditions under. . .any. . .Federal law, by a prisoner. . .

until such administrative remedies as are available are exhausted,” citing Porter v.

Nussle, 534 U.S. 516 (2002) and Booth v. Churner, 532 U.S. 731 (2001). That

determination, for the reasons there stated, is precisely applicable here and treating his

letter request as a motion, it is hereby denied.

         SO ORDERED.

Dated:        Brooklyn, New York
              September 20, 2006



                                                                      S/
                                                    I. Leo Glasser




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